                Case 19-11500       Doc 55-3     Filed 10/31/19    Page 1 of 1




                     LIQUIDATION ANALYSIS UNDER CHAPTER 7

I.     Assets

Cash on hand:                                                             $4,996.24
Sale of 400 Ferry Point Road (net of closing costs):                      $1,488,000.00
Sale of 803 Mayfair Road (net of closing costs):                          $70,000.00
Preference/Avoidance Actions:                                             $20,000.00
Other Assets (net of exemptions):                                         $10,000.00

                                                                   Total: $1,592,996.20

II.    Secured Debt

Liens Against 400 Ferry Point Road:                                       $1,619,160.90
Liens Against Mayfair Road:                                               $0.00
Liens Against Other Assets:                                               $10,000 (IRS)

                                                                   Total: $1,629,160.00

III.   Priority Debts

Internal Revenue Service:                                                 $658,311.36
Comptroller of Maryand:                                                   $54,051.00

                                                                   Total: $712,362.60

IV.    Unsecured Debts

General Unsecured Claims:                                                 $398,980.56

                                                                   Total: $398,980.56



If the Debtor’s case was converted to Chapter 7, the only assets available would be for payment
to holders of Priority Tax Claims. If the case was converted to Chapter 7, a Chapter 7 Trustee
could potentially liquidate 803 Mayfair Blvd, the cash in the bank, and pursue avoidance actions.
The Debtor estimates that a Chapter 7 Trustee could potentially obtain approximately $94,996.00
in proceeds, before deduction of Trustee’s fees and expenses. It is estimated that after the
Trustee’s fees and expenses, Priority Tax Claimants would receive approximately $65,000,
which would be distributed to Priority Tax Claim holders on a pro-rata basis, or approximately
nine percent (9%) of such claims.

Holders of General Unsecured Claims would receive no distribution if the Debtor’s case was
converted to Chapter 7.
